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                                          EXHIBIT S

                           CONFIDENTIAL
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August 18, 2023

Via E-mail to wendy.olson@stoel.com

Wendy Olson
Stoel Rives LLP
101 S. Capitol Blvd, Suite 1900
Boise ID 83702

RE:         Rebecca Scofield v. Ashley Guillard, U.S. District Court for the District of Idaho, 3:22-CV-
            00521-REP

Dear Ms. Olson,

This correspondence is in response to the Subpoena To Produce Documents, Information, Or Objects Or
To Permit Inspection Of Premises In A Civil Action issued by you in the above referenced matter and
served upon the University of Idaho. The response to each Production Request is as follows:

      1. Please produce all Documents and Communications indicating that Professor Rebecca Scofield
         ever taught a class at the University of Idaho that was taken by students Ethan Chapin, Kaylee
         Goncalves, Xana Kernodle, Madison Mogen, or Jack DuCoeur.
             • The University of Idaho has no record of Ethan Chapin, Kaylee Goncalves, Xana Kernodle,
                  Madison Mogen, or Jack DuCoeur having taken any classes at the University of Idaho
                  which were taught by Professor Rebecca Scofield.
      2. Please produce all Documents and Communications related to any formal investigation the
         University of Idaho conducted related to the statement made by Defendant Ashley Guillard that
         Professor Rebecca Scofield had an inappropriate relationship with Kaylee Goncalves.
             • The University of Idaho has no record of any formal investigation conducted related to the
                  statement made by Defendant Ashley Guillard that Professor Rebecca Scofield had an
                  inappropriate relationship with Kaylee Goncalves.
      3. Please produce all Documents and Communications related to any formal investigation the
         University of Idaho conducted related to the statement made by Defendant Ashley Guillard that
         Plaintiff Rebecca Scofield was involved with the murders of Ethan Chapin, Kaylee Goncalves,
         Xana Kernodle, and Madison Mogen.
             • The University of Idaho has no record of any formal investigation conducted related to the
                  statement made by Defendant Ashley Guillard that Plaintiff Rebecca Scofield was involved
                  with the murders of Ethan Chapin, Kaylee Goncalves, Xana Kernodle, and Madison
                  Mogen.

Sincerely,




Kim M. Rytter
Deputy General Counsel
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December 21, 2023

Via E-mail to msashleyjt@gmail.com

Ashley Guillard
3262 Westheimer Rd. #942
Houston, TX 77098

RE:         Rebecca Scofield v. Ashley Guillard, U.S. District Court for the District of Idaho, 3:22-CV-
            00521-REP

Dear Ms. Guillard,

This correspondence is in response to the Subpoena To Produce Documents, Information, Or Objects Or
To Permit Inspection Of Premises In A Civil Action issued by you in the above referenced matter and
served upon the University of Idaho. The University of Idaho conducted a search of records within its
custody and control to respond to the Production Requests in your subpoena. The response to each
Production Request is as follows:

      1. “If any information has changed, please produce all documents and information that is listed on the
         memorandum (Exhibit C) but not provided.”
              • The information contained in the document included with the subpoena as Exhibit C has
                  not changed.
      2. “Please produce all communication (including deleted communication) between, to and from
         Rebecca Scofield and University of Idaho Student Kaylee Goncalves.”
              • The University of Idaho did not locate and is not aware of any “communication (including
                  deleted communication) between, to and from Rebecca Scofield and University of Idaho
                  Student Kaylee Goncalves.”
      3. “Please produce all communication and transactions (including deleted communication) between,
         to and from Rebecca Scofield and University of Idaho Student Madison Mogen.”
              • The University of Idaho did not locate and is not aware of any “communication and
                  transactions (including deleted communication) between, to and from Rebecca Scofield
                  and University of Idaho Student Madison Mogen.”
      4. “Please produce all communication and transactions (including deleted communication) between,
         to and from Rebecca Scofield and University of Idaho Student Xana Kernodle”.
              • The University of Idaho did not locate and is not aware of any “communication and
                  transactions (including deleted communication) between, to and from Rebecca Scofield
                  and University of Idaho Student Xana Kernodle.”
      5. “Please produce all communication and transactions (including deleted communication) between,
         to and from Rebecca Scofield and University of Idaho Student Jack DuCoeur.”
              • The University of Idaho did not locate and is not aware of any “communication and
                  transactions (including deleted communication) between, to and from Rebecca Scofield
                  and University of Idaho Student Jack DuCoeur.”
      6. “Please indicate (yes or no) if there is any communication and/or transactions between, to and from
         Rebecca Scofield and any of the aforementioned students prior to June 1, 2021.”
              • No, the University of Idaho did not locate and is not aware of “any communication and/or
                  transactions between, to and from Rebecca Scofield and any of the aforementioned students
                  prior to June 1, 2021.”
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   7. “Please produce all communication and transactions (including deleted communication) between,
       to and from Rebecca Scofield and Bryan Kohberger means Ph.D. student at Washington State
       University Pullman Campus that is currently being charged with the murder of the four students.”
           • The University of Idaho did not locate and is not aware of any “communication and
                transactions (including deleted communication) between, to and from Rebecca Scofield
                and Bryan Kohberger”.
   8. “Please produce any communications indicating or suggesting that Rebecca Scofield has or has
       attempted to delete, remove, hide, or otherwise restrict access to communications and/or
       transactions involving any of the aforementioned students: Xana Kernodle, Kaylee Goncalves,
       Ethan Chapin, Madison Mogen, Jack DuCoeur and Bryan Kohberger.”
           • The University of Idaho did not locate and is not aware of any “communications indicating
                or suggesting that Rebecca Scofield has or has attempted to delete, remove, hide, or
                otherwise restrict access to communications and/or transactions involving any of the
                aforementioned students: Xana Kernodle, Kaylee Goncalves, Ethan Chapin, Madison
                Mogen, Jack DuCoeur and Bryan Kohberger.”
   9. “Please produce all in person contact and communication between Rebecca Scofield and any of the
       four students: Xana Kernodle, Kaylee Goncalves, Ethan Chapin, Madison Mogen, Jack DuCoeur
       and Bryan Kohberger.”
           • The University of Idaho did not locate and is not aware of any evidence of any “in person
                contact and communication between Rebecca Scofield and any of the four students: Xana
                Kernodle, Kaylee Goncalves, Ethan Chapin, Madison Mogen, Jack DuCoeur and Bryan
                Kohberger.”
   10. “Please produce any communications indicating or suggesting that Counter Defendant Rebecca
       Scofield has or has attempted to delete, remove, hide, or otherwise restrict access to information
       regarding her connection any of the aforementioned students: Xana Kernodle, Kaylee Goncalves,
       Ethan Chapin, Madison Mogen, Jack DuCoeur and Bryan Kohberger.”
           • The University of Idaho did not locate and is not aware of “any communications indicating
                or suggesting that Counter Defendant Rebecca Scofield has or has attempted to delete,
                remove, hide, or otherwise restrict access to information regarding her connection any of
                the aforementioned students: Xana Kernodle, Kaylee Goncalves, Ethan Chapin, Madison
                Mogen, Jack DuCoeur and Bryan Kohberger.”

Sincerely,




Kim M. Rytter
Interim General Counsel
